  Case 23-15334-CMG          Doc 8    Filed 06/29/23 Entered 06/29/23 15:48:29          Desc Main
                                      Document     Page 1 of 2



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1

Andrew D. Behlmann, Esq.
Colleen M. Restel, Esq.
LOWENSTEIN SANDLER LLP
One Lowenstein Drive
Roseland, NJ 07068
Telephone: (973) 597-2500
Email: abehlmann@lowenstein.com
Email: crestel@lowenstein.com
Counsel to MLS Berkowitz Investments LLC
In re:
                                                             Chapter 7
MLS Berkowitz Investments LLC,
                                                             Case No. 23-15334 (CMG)
                                     Debtor.

                                NOTICE OF APPEARANCE AND
                              REQUEST FOR SERVICE OF PAPERS

            PLEASE TAKE NOTICE that Lowenstein Sandler LLP hereby appears as counsel for

  MLS Berkowitz Investments LLC (“MLSBI”), pursuant to Rule 9010(b) of the Federal Rules of

  Bankruptcy Procedure (the “Bankruptcy Rules”). MLSBI, by and through its counsel, hereby

  requests, pursuant to Bankruptcy Rules 2002 and 9007, and the applicable Local Rules, that all

  notices given or required to be given in the above-captioned chapter 7 case, and all papers served

  or required to be served in this case, be given to and served upon the following:


                                     Andrew D. Behlmann, Esq.
                                       Colleen M. Restel, Esq.
                                  LOWENSTEIN SANDLER LLP
                                        One Lowenstein Drive
                                          Roseland, NJ 07068
                                     Telephone: (973) 597-2500
                                  Email: abehlmann@lowenstein.com
                                         crestel@lowenstein.com




  44188/2
  06/29/2023 214031195.1
Case 23-15334-CMG          Doc 8    Filed 06/29/23 Entered 06/29/23 15:48:29               Desc Main
                                    Document     Page 2 of 2



       PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only the

notices and papers referred to in the Bankruptcy Rules and sections of the Bankruptcy Code

specified above, but also includes, without limitation, any order, notice, application, complaint,

demand, motion, petition, pleading, or request, whether mailed or filed, in the case and proceedings

referenced herein.

       PLEASE TAKE FURTHER NOTICE that neither this notice nor any later appearance,

pleading or claim, shall waive any rights to: (1) challenge the jurisdiction of the Court to adjudicate

any matter, including, without limitation, any non-core matter; (2) have final orders in non-core

matters entered only after de novo review by the District Court; (3) trial by jury in any proceeding

so triable in these cases or any case, controversy or proceeding related to these cases; or (4) have

the District Court withdraw that reference in any matter subject to mandatory or discretionary

withdrawal; or any other rights, claims, actions, setoffs, or recoupments to which MLSBI is or may

be entitled, in law or in equity, all of which rights, claims, actions, defenses, setoffs and

recoupments are expressly reserved.

Dated: June 29, 2023                                   Respectfully submitted,
                                                       /s/ Andrew D. Behlmann
                                                       Andrew D. Behlmann
                                                       Colleen M. Restel
                                                       Lowenstein Sandler LLP
                                                       One Lowenstein Drive
                                                       Roseland, NJ 07068
                                                       Email: abehlmann@lowenstein.com
                                                               crestel@lowenstein.com

                                                       Counsel to MLS Berkowitz Investments LLC




                                                 -2-
